JS 44 (Rev. 10/20) Case 1:21-cv-16118-RMB-SAK Document
                                           CIVIL COVER 1 SHEET
                                                         Filed 08/26/21 Page 1 of 11 PageID: 1
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                               DEFENDANTS

    Edward Chase                                                                                                Millwood, Inc.
    (b)   County of Residence of First Listed Plaintiff                 Burlington County, NJ                   County of Residence of First Listed Defendant              Trumbull County, OH
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                     (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                           THE TRACT OF LAND INVOLVED.

  (c) Attorneys (Firm Name, Address, and Telephone Number)                                                       Attorneys (If Known)
Fernando I. Rivera, Esq., Console Mattiacci Law,
110 Marter Avenue, Suite 502, Moorestown, NJ 08057 215-545-7676

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                            III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                             (For Diversity Cases Only)                                    and One Box for Defendant)
    1   U.S. Government                       3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
          Plaintiff                                 (U.S. Government Not a Party)                      Citizen of This State          ✖ 1          1      Incorporated or Principal Place         4     4
                                                                                                                                                            of Business In This State

    2   U.S. Government
          Defendant
                                         ✖    4   Diversity
                                                    (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen of Another State            2          2   Incorporated and Principal Place
                                                                                                                                                            of Business In Another State
                                                                                                                                                                                                     5   x     5


                                                                                                       Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                         Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                          Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                                     TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
    110 Insurance                            PERSONAL INJURY              PERSONAL INJURY                 625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
    120 Marine                               310 Airplane                365 Personal Injury -                of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
    130 Miller Act                           315 Airplane Product            Product Liability            690 Other                                28 USC 157                        3729(a))
    140 Negotiable Instrument                     Liability              367 Health Care/                                                                                        400 State Reapportionment
    150 Recovery of Overpayment              320 Assault, Libel &            Pharmaceutical                                                    PROPERTY RIGHTS                   410 Antitrust
        & Enforcement of Judgment                 Slander                    Personal Injury                                                    820 Copyrights                   430 Banks and Banking
    151 Medicare Act                         330 Federal Employers’          Product Liability                                                  830 Patent                       450 Commerce
    152 Recovery of Defaulted                     Liability              368 Asbestos Personal                                                  835 Patent - Abbreviated         460 Deportation
         Student Loans                       340 Marine                      Injury Product                                                         New Drug Application         470 Racketeer Influenced and
         (Excludes Veterans)                 345 Marine Product              Liability                                                          840 Trademark                        Corrupt Organizations
    153 Recovery of Overpayment                   Liability             PERSONAL PROPERTY                          LABOR                        880 Defend Trade Secrets         480 Consumer Credit
        of Veteran’s Benefits                350 Motor Vehicle           370 Other Fraud                  710 Fair Labor Standards                  Act of 2016                      (15 USC 1681 or 1692)
    160 Stockholders’ Suits                  355 Motor Vehicle           371 Truth in Lending                 Act                                                                485 Telephone Consumer
    190 Other Contract                           Product Liability       380 Other Personal               720 Labor/Management                 SOCIAL SECURITY                       Protection Act
    195 Contract Product Liability           360 Other Personal              Property Damage                  Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
    196 Franchise                                Injury                  385 Property Damage              740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                             362 Personal Injury -           Product Liability            751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                                 Medical Malpractice                                          Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
        REAL PROPERTY                          CIVIL RIGHTS             PRISONER PETITIONS                790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
    210 Land Condemnation                    440 Other Civil Rights      Habeas Corpus:                   791 Employee Retirement                                                893 Environmental Matters
    220 Foreclosure                          441 Voting                  463 Alien Detainee                   Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
    230 Rent Lease & Ejectment       ✖       442 Employment              510 Motions to Vacate                                                 870 Taxes (U.S. Plaintiff             Act
    240 Torts to Land                        443 Housing/                    Sentence                                                              or Defendant)                 896 Arbitration
    245 Tort Product Liability                   Accommodations          530 General                                                           871 IRS—Third Party               899 Administrative Procedure
    290 All Other Real Property              445 Amer. w/Disabilities -  535 Death Penalty                    IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                                 Employment              Other:                           462 Naturalization Application                                             Agency Decision
                                             446 Amer. w/Disabilities -  540 Mandamus & Other             465 Other Immigration                                                  950 Constitutionality of
                                                 Other                   550 Civil Rights                     Actions                                                                State Statutes
                                             448 Education               555 Prison Condition
                                                                         560 Civil Detainee -
                                                                             Conditions of
                                                                             Confinement
V. ORIGIN (Place an “X” in One Box Only)
✖   1 Original             2 Removed from                          3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
      Proceeding             State Court                                 Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                                   (specify)                 Transfer                          Direct File
                                              Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                              N.J.S.A § 34:19-1, et seq.
VI. CAUSE OF ACTION                           Brief description of cause:
                                                                                Plaintiff was retaliated against.
VII. REQUESTED IN                                  CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                                    UNDER RULE 23, F.R.Cv.P.                            in excess of $75,000                           JURY DEMAND:                X   Yes           No
VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                              JUDGE                                                                DOCKET NUMBER
DATE                                                                        SIGNATURE OF ATTORNEY OF RECORD
08/26/2021
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                         APPLYING IFP                                    JUDGE                           MAG. JUDGE
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 2 of 11 PageID: 2




                    IN THE UNITED STATES DISTRICT COURT FOR
                           THE DISTRICT OF NEW JERSEY


EDWARD CHASE
21 Dickens Drive
Delran, NJ 08075

                 Plaintiff,

       v.                                             CASE NO.

MILLWOOD, INC.
3708 International Boulevard
Vienna, OH 44473                                      JURY TRIAL DEMAND

                Defendant.


                                          COMPLAINT

I.     INTRODUCTION

       Plaintiff, Edward Chase (“Plaintiff”), brings this action against his former employer,

Millwood, Inc. (“Defendant”), for wrongful termination and retaliation in violation of the New

Jersey Conscientious Employee Protection Act, N.J.S.A. § 34:19-1 et seq. (“CEPA”). After

believing that Defendant was misleading and withholding information from OSHA related to a

government investigation into a workplace accident and engaging in protected whistleblower

activity regarding same, Plaintiff was terminated by Defendant just hours after it learned that

Plaintiff intended to communicate directly with OSHA regarding Defendant’s misrepresentations

and/or omissions and in furtherance of OSHA’s ongoing investigation. Plaintiff now seeks

damages, including compensatory and punitive damages, his attorney’s fees and costs, and all

other statutory relief that this Court deems appropriate.
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 3 of 11 PageID: 3




                                             PARTIES

       2.      Plaintiff is an individual and a citizen of the State of New Jersey residing in

Delran, New Jersey.

       3.      Defendant is a citizen of Ohio with a principal place of business located at 3708

International Boulevard, Vienna, Ohio.

       4.      At all times material hereto, Plaintiff worked in Defendant’s Sewell, New Jersey

location.

       5.      Defendant is engaged in an industry affecting interstate commerce and, at all

times material hereto, has regularly conducted business in New Jersey.

       6.      At all times material hereto, Plaintiff was an “employee” of Defendant and

“whistleblower” as defined by and within the meaning of CEPA.

       7.      At all times material hereto, Defendant was an “employer” as defined by and

within the meaning of CEPA.

       8.      At all times material hereto, Defendant acted by and through its authorized agents,

servants, workmen, and/or employees acting within the course and scope of their employment or

agency and in furtherance of its business.

                                JURISDICTION AND VENUE

       9.      The cause of action which forms the basis of this action arises under the CEPA.

       10.     The District Court has jurisdiction over this action pursuant to 28 U.S.C.

§ 1332(a), in that the Plaintiff and Defendant are of diverse citizenship and the amount in

controversy exceeds $75,000, exclusive of interest and costs.

       11.     The District Court has jurisdiction over Count I (CEPA) pursuant to 28 U.S.C.

§ 1332(a).



                                                2
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 4 of 11 PageID: 4




       12.     Venue is proper in the District Court under 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claims occurred within this District.

                                  FACTUAL ALLEGATIONS

       13.     In or around May of 2019, Plaintiff was hired at CORE Erosion Control Services

(“CORE”) as a Plant Manager.

       14.     On or about September 4, 2019, Defendant acquired CORE.

       15.     After Defendant’s acquisition of CORE, Defendant retained Plaintiff as a Plant

Manager in its Sewell, New Jersey location.

       16.     As Plant Manager at Defendant, Plaintiff reported directly to Chris Verbosky

(“Verbosky”), Regional Manager (“RM”); Verbosky reported directly to Chip Trebcock

(“Trebcock”), Owner.

       17.     Plaintiff’s primary responsibilities as Plant Manager at Defendant included

training employees on OSHA regulations and supervising employees to ensure compliance with

OSHA’s guidance and regulations related to the health and safety of employees.

       18.     During his employment with Defendant, Plaintiff was a dedicated employee who

exhibited excellent work performance, including receiving numerous merit-based bonuses and

being awarded “Best of Show” due to the performance of his plant.

       19.     On or about August 6, 2020, an employee of Defendant was involved in a

workplace incident, which resulted in the employee being severely injured and admitted as an in-

patient at a hospital (the “August 6th Workplace Incident”).

       20.     Upon information and belief, the workplace incident was caused by managerial

neglect due to a directive given by Verbosky.




                                                  3
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 5 of 11 PageID: 5




       21.     According to OSHA Regulation 1904.39(a)(2), all employers are required to

notify OSHA when an employee suffers a severe work-related injury.

       22.     According to OSHA Regulation 1904.39(a)(2), all employers are required to

notify OSHA when an employee is admitted to a hospital related to a work-related injury.

       23.     According to OSHA Regulation 1904.39(a)(2), an in-patient hospitalization

related to a work-related injury must be reported within 24 hours.

       24.     Defendant failed to report the August 6th Workplace Incident to OSHA within the

required timeframe and in violation of OSHA Regulation 1904.39(a)(2).

       25.     On August 7, 2020, Mondell Elliott, Safety Manager, sent an email to several

employees, including Plaintiff, confirming that the employee injured during the August 6th

Workplace Incident was “in patient admitted” at a local hospital.

       26.     Upon information and belief, Defendant was cited and fined by OSHA for failing

to report the August 6th Workplace Incident in a timely manner.

       27.     Between August 6, 2020, and August 18, 2020, Defendant actively tried to

conceal the August 6th Workplace Incident from OSHA.

       28.     On or about August 18, 2020, after the injured employee underwent surgery and

filed a workers’ compensation claims, Defendant finally reported the August 6th Workplace

Incident to OSHA.

       29.     On or about August 25, 2020, OSHA conducted an on-site visit at Defendant and

began an investigation into the August 6th Workplace Incident (the “OSHA Investigation”).

       30.     As part of the OSHA Investigation, OSHA requested that Defendant produce,

inter alia, relevant work logs, witness statements, and allow for a visual inspection of certain

equipment.



                                                4
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 6 of 11 PageID: 6




        31.      In response to OSHA’s request, Defendant asked Plaintiff to collect witness

statements from the employees on duty during the August 6th Workplace Incident, which

Plaintiff did.

        32.      As part of the OSHA Investigation, Plaintiff secured witness statements from two

eyewitnesses, Victor Cruz (“Cruz”) and Michael McAuliffe (“McAuliffe”), which noted

Defendant’s negligence in how employees were instructed to operate the machinery that caused

the injury.

        33.      The witness statement obtained by Plaintiff from McAuliffe (and given to

Defendant) was not provided to OSHA.

        34.      The witness statement obtained by Plaintiff from Cruz, which required a

translation from Spanish to English, appeared to Plaintiff to be materially different than the

statement he was given by Cruz.

        35.      On August 28, 2020, Elliott sent an email to various employees, including

Plaintiff, in which he stated that, “OSHA wants to interview [Cruz], so it is best if we know what

he is saying before that happens.”

        36.      Upon information and belief, Elliott attempted to get Cruz to change his initial

witness statement, and subsequently submitted a second translation of Cruz’s statement to

OSHA.

        37.      During OSHA’s on-site visit, Plaintiff was instructed by Verbosky to walk

employees off of the floor and to leave the job site to avoid them being questioned or speaking

with the OSHA investigator.

        38.      During OSHA’s on-site visit, Verbosky attempted to tell Plaintiff what to say to

OSHA; Plaintiff cut off Verbosky and objected to telling anything but the truth.



                                                 5
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 7 of 11 PageID: 7




       39.     Based on, inter alia, Defendant’s delay in reporting the August 6th Incident;

Defendant’s failure to provide OSHA with relevant witness statements; Elliott’s email regarding

Cruz’s forthcoming interview with OSHA; Defendant’s instructions to Plaintiff regarding what

to say to OSHA; and Defendant’s instruction to Plaintiff to pull employees off of the job site

during OSHA’s on-site visit, Plaintiff reasonably believed that Defendant withheld material

information from OSHA, was intentionally misleading and/or lying to OSHA, and was

attempting to impede the OSHA Investigation for Defendant’s personal benefit and gain.

       40.     On August 31, 2020, at approximately 6:30 a.m., Plaintiff informed Meredith

Cheney (“Cheney”), Site Administrator, that he was going directly to OSHA because Defendant

was trying to “cover up” the August 6th Incident.

       41.     On August 31, 2020, at approximately 6:45 a.m., Plaintiff informed his

subordinate employees that he was going directly to OSHA to discuss the August 6th Incident

and told them to tell the truth to OSHA.

       42.     On August 31, 2020, at approximately 7:00 a.m., Plaintiff told Edward Evans

(“Evans”), Sales Representative, that he was leaving work for the day and asked him to provide

coverage for his shift.

       43.     During the afternoon of August 31, 2020, Cheney told Verbosky and David

Stewart (“Stewart”), Head of HR, that, inter alia, Plaintiff informed her that Plaintiff was going

to OSHA to discuss the August 6th Incident; and that Plaintiff believed that Defendant was

requesting employees to change their story regarding the August 6th Incident.

       44.     Verbosky immediately reported what Cheney informed him about Plaintiff to

Elliott and Jason Olander (“Olander”), Regional Safety Auditor.




                                                6
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 8 of 11 PageID: 8




       45.     Shortly after Cheney’s conversation with Verbosky and Stewart, Plaintiff received

phone calls from Verbosky and Adam Engleboch (“Engleboch”), Assistant.

       46.     On August 31, 2020, at 2:18 p.m. and 2:21 p.m., respectively, Plaintiff

communicated with OSHA on his work-issued cell phone to schedule an in-person meeting to

discuss information that he reasonably believed was being withheld by Defendant related to

OSHA’s Investigation.

       47.     On August 31, 2020, sometime between 3:00 p.m. and 9:15 p.m., Defendant

deactivated Plaintiff’s work-issued cell phone and access to work emails.

       48.     On August 31, 2020, on the same day that Defendant learned that Plaintiff was

objecting to, and refusing to participate in, what Plaintiff reasonably believed was unlawful

conduct, Defendant terminated Plaintiff’s employment.

       49.     On September 1, 2020, at 10:20 a.m., Plaintiff received a call from McAuliffe

informing him that Chris Sztenderowicz (“Sztenderowicz”), Regional Sales Manager, announced

at a morning staff meeting that Plaintiff was no longer with the company and that Evans was

taking over his job as Plant Manager.

       50.     McAuliffe informed Plaintiff that during the morning staff meeting Verbosky said

that he was “putting a rumor to rest and not asking anyone to lie on their statement.”

       51.     After his call with McAuliffe, Plaintiff called another employee at Defendant,

Kalief Tyler (“Tyler”), who confirmed that Defendant announced that Plaintiff was replaced by

Evans at the morning staff meeting.

       52.     Plaintiff engaged in protected activity by providing information to OSHA related

to the OSHA Investigation.




                                                 7
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 9 of 11 PageID: 9




        53.    Plaintiff engaged in protected whistleblower activity by disclosing to management

and OSHA that he reasonably believed Defendant withheld material information from OSHA,

intentionally misled and/or lied to OSHA, and attempted to impede the OSHA Investigation for

Defendant’s personal benefit and gain, which he reasonably believed was unlawful, in violation

of Section 17 of OSHA Act of 1970, and constituted fraudulent and/or criminal activity.

        54.    Plaintiff engaged in protected whistleblower activity by objecting to and refusing

to participate in Defendant’s withholding of material information from OSHA, intentionally

misleading and/or lying to OSHA, and attempting to impede the OSHA Investigation for

Defendant’s personal benefit and gain, which he reasonably believed was unlawful, in violation

of Section 17 of OSHA Act of 1970, constituted fraudulent and/or criminal activity, and was

incompatible with a clear mandate of public policy.

        55.    Plaintiff’s whistleblower activity was a determinative and/or motivating factor in

Defendant’s retaliatory treatment of Plaintiff, e.g., his termination.

        56.    By committing the foregoing acts of retaliation, Defendant violated CEPA.

        57.    As a direct and proximate result of the retaliatory conduct of Defendant, Plaintiff

has in the past incurred, and may in the future incur, among other things, a loss of earnings

and/or earning capacity, loss of benefits, pain and suffering, embarrassment, humiliation, loss of

self-esteem, mental anguish and loss of life’s pleasures, the full extent of which is not known at

this time.

        58.    The retaliatory conduct of Defendant involved upper management’s actual

participation and/or their willful indifference to the alleged wrongful conduct, warranting the

imposition of punitive damages.




                                                  8
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 10 of 11 PageID: 10




                                          COUNT I
                              RETALIATION IN VIOLATION OF CEPA

        59.         Plaintiff incorporates the above paragraphs as if set forth herein in their entirety.

        60.         Defendant violated CEPA by terminating Plaintiff after he disclosed, objected to,

and refused to participate in unlawful conduct.

        61.         Defendant violated CEPA by terminating Plaintiff for participating in the OSHA

Investigation.

        62.         As a direct and proximate result of Defendant’s violations of CEPA, Plaintiff has

suffered the injuries, damages, and losses set forth herein.

        63.         Members of upper management of Defendant actively participated in or were

willfully indifferent to the violations of CEPA, warranting the imposition of punitive damages.

        64.         Plaintiff is now suffering and will continue to suffer irreparable injury and

monetary damages as a result of Defendant’s unlawful acts unless and until this Court grants the

relief requested herein.

        65.         Plaintiff is entitled to all costs and attorney’s fees incurred as a result of

Defendant’s violation of CEPA.

        66.         No previous application has been made for the relief requested herein.

                                                  RELIEF

        WHEREFORE, Plaintiff seeks damages and legal and equitable relief in connection

with Defendant’s unlawful conduct, and specifically prays the Court to grant the following relief

to Plaintiff by:

              (a)      Declaring the acts and practices complained of herein to be in violation of

                       CEPA;

              (b)      Enjoining and restraining permanently the violations alleged herein;


                                                       9
Case 1:21-cv-16118-RMB-SAK Document 1 Filed 08/26/21 Page 11 of 11 PageID: 11




          (c)      Awarding compensatory damages to Plaintiff to make Plaintiff whole for past

                   and future lost earnings, benefits and earnings capacity, which Plaintiff has

                   suffered and will continue to suffer as a result of the unlawful conduct by

                   Defendant;

          (d)      Awarding compensatory damages to Plaintiff for past and future emotional

                   distress, mental anguish, humiliation, loss of life’s pleasures, and pain and

                   suffering;

          (e)      Awarding Plaintiff costs associated with pursuing his action, together with

                   reasonable attorney’s fees;

          (f)      Awarding Plaintiff punitive damages;

          (g)      Awarding Plaintiff such other damages as are appropriate under CEPA; and,

          (h)      Granting any further relief as this Court deems appropriate.



                                                      CONSOLE MATTIACCI LAW, LLC


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Dated: 8/26/2021                                      Attorneys for Plaintiff




                                                 10
